
Five Boro Psychological Services, P.C., as Assignee of Christine Rodriguez, Respondent,
againstMVAIC, Appellant.




Marshall &amp; Marshall, PLLC (Naim Peress of counsel), for appellant.
Gary Tsirelman, P.C., for respondent (no brief filed).

Appeal from a judgment of the Civil Court of the City of New York, Kings County (Robin S. Garson, J.), entered May 28, 2015. The judgment, entered pursuant to a decision of that court dated September 10, 2014, after a nonjury trial, awarded plaintiff the principal sum of $958.32.




ORDERED that, on the court's own motion, the notice of appeal from the decision dated September 10, 2014 is deemed a premature notice of appeal from the judgment entered May 28, 2015 (see CPLR 5520 [c]); and it is further,
ORDERED that the judgment is reversed, with $30 costs, and the matter is remitted to the Civil Court for the entry of a judgment in favor of defendant dismissing the complaint.
In this action by a provider to recover assigned first-party no-fault benefits, the sole issue at a nonjury trial was whether plaintiff's assignor was a "qualified person," and, thus, whether she was eligible to recover no-fault benefits from defendant Motor Vehicle Accident Indemnification Corporation (sued herein as MVAIC). Following the trial, the Civil Court awarded plaintiff judgment in the principal sum of $958.32.
For the reasons stated in Village Med. Supply, Inc. v MVAIC (53 Misc 3d 134[A], 2016 NY Slip Op 51421[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2016]), the judgment is reversed and the matter is remitted to the Civil Court for the entry of a judgment in favor of defendant dismissing the complaint.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.

ENTER:Paul KennyChief ClerkDecision Date: May 25, 2018










